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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION


 ASSUREDPARTNERS NL, LLC,                        )
                                                 )
                Plaintiff,                       )
                                                 )
                v.                               )   Case No. 3:18-cv-111
                                                 )
 EPIC INSURANCE SOLUTIONS                        )
 AGENCY LLC AND DAN DAVIS,                       )
                                                 )
                Defendants.



               COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       Plaintiff AssuredPartners NL, LLC (“AssuredPartners”), by counsel, for its Complaint For

Injunctive Relief and Damages against Epic Insurance Solutions Agency LLC (“Epic”), and Dan

Davis (collectively, “Defendants”), states as follows:

                                JURISDICTION AND VENUE

       1.      AssuredPartners is a Delaware limited liability company, with its principal place of

business in Lake Mary, Florida. AssuredPartners is licensed and authorized to do business within

the State of Indiana. AssuredPartners is admitted to sell insurance for safety, risk mitigation,

workers’ compensation, employee benefits and related types of products in 13 states, including

Indiana. AssuredPartners has a strong presence in Indiana with approximately 160 employees

working in offices located in Batesville, Evansville, Indianapolis, Madison, Jeffersonville, and

Rushville.

       2.      The only member of AssuredPartners is AssuredPartners Capital, Inc., which is

organized and operating under the laws of Delaware, with its principal place of business in Lake

Mary, Florida. AssuredPartners is therefore a citizen of Delaware and Florida.
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          3.   Defendant Epic Insurance Solutions Agency LLC is a Delaware limited liability

company with its principal place of business in Louisville, Kentucky. Epic is an independent

insurance company and sells life, health, employee benefits, medical and dental and related types

of insurance. Epic is a direct competitor of AssuredPartners. In January 2016, Epic opened its

first office in Indiana, in Indianapolis. Epic is preparing to open an Evansville, Indiana office.

          4.   Epic’s members are: (1) Brian D. Lamb, a citizen of Ohio, domiciled in Cincinnati,

Ohio; (2) Gerald Brady Coogan, a citizen of Ohio, domiciled in Cincinnati, Ohio; and (3) Michael

P. Speaker, a citizen of Ohio, domiciled in Cincinnati, Ohio. Epic is therefore a citizen of Ohio.

          5.   Defendant Dan Davis is a former employee of AssuredPartners and is currently

employed by Epic in substantially the same capacity that Davis worked for AssuredPartners. Epic

has hired Davis to spearhead a new Evansville, Indiana office. Davis is a citizen of Indiana,

domiciled in Newburgh, Indiana.

          6.   This Court has personal jurisdiction over Davis because Davis is an Indiana resident

and because he caused events to occur in Evansville, Indiana out of which this Complaint arises.

This Court has personal jurisdiction over Epic because it conducts business within the state of

Indiana and because Epic caused events to occur in Evansville, Indiana out of which this Complaint

arises.

          7.   This Court has subject matter jurisdiction over AssuredPartners’ claims pursuant to

28 U.S.C. §1332 because there is complete diversity of citizenship and because the amount in

controversy, exclusive of interest and costs, while impossible to calculate with precision, exceeds

$75,000. This Court also has subject matter jurisdiction over AssuredPartners’ claims pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1367 because the First Cause of Action alleges a claim for

misappropriation of trade secrets under the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1832




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et seq., and AssuredPartners’ other claims are so related to its federal claims that they form part of

the same case or controversy under Article III of the United States Constitution.

          8.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to AssuredPartners’ claims occurred in this district.

                                          THE PARTIES

AssuredPartners NL, LLC (AssuredPartners)

          9.    AssuredPartners NL, LLC, is a Delaware limited liability company with its

principal place of business in Lake Mary, Florida. Before it converted to an LLC, AssuredPartners

NL, LLC was previously known as Assured Neace Lukens Insurance Agency, Inc., which was

previously known as Assured NL Insurance Agency, Inc.              AssuredPartners sells insurance

products and services relating to safety, workers’ compensation, and employee benefits, among

others.

          10.   AssuredPartners currently has offices in Batesville, Evansville, Indianapolis,

Madison, Jeffersonville, and Rushville, Indiana, employing more than 150 employees. Previously,

AssuredPartners had an office in Newburgh, Indiana as well. In October 2013, AssuredPartners

combined its Newburgh, Indiana and Evansville, Indiana offices into one office in Evansville,

Indiana.

          11.   AssuredPartners is in engaged in interstate commerce. AssuredPartners has offices

in 38 states, employing approximately 5,000 employees.

          12.   AssuredPartners’ business involves the collection, generation, use, and protection

of confidential information, including, but not limited to, the identity of customers and prospective

customers, including their contact information and insurance needs; vendors; insurance carriers;

policy terms of existing customers; expiration/renewal dates; AssuredPartners’ financial condition




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including its marketing plans, pricing and business strategies and methods; and the services and

products AssuredPartners offers, including insurance rating information; and pricing information

for AssuredPartners’ insurance offerings and other products.

       13.     AssuredPartners’ confidential information is the product of years of accumulation

and distillation of proprietary information. AssuredPartners has made a considerable investment

in terms of hours and expense to accumulate and maintain this confidential information.

       14.     AssuredPartners goes to great efforts to maintain the secrecy of its confidential

information, including, but not limited to: (1) requiring certain of its employees and agents to

execute agreements requiring the maintenance of the confidentiality of the information both during

and post-relationship; (2) imposing confidentiality provisions in its Employee Handbook requiring

the maintenance of the confidentiality of its confidential information; (3) protecting access to the

confidential and trade secret database through password-protected access; (4) providing continued

verbal and written reinforcement of the confidentiality of AssuredPartners’ confidential

information at all levels of AssuredPartners’ communications; and (5) engaging in post-

employment efforts to ensure its confidential information is maintained by departing employees

in confidence and not shared with competitors. This confidential information is not available to

the public and is not shared with the public, and it is competitively valuable to AssuredPartners’

competitors.

       15.     AssuredPartners’ employees who sell insurance products execute an Employment

and Restrictive Covenants Agreement (“Agreement”) under which the employee agrees that he or

she “shall not use, or disclose to any third party, any Confidential Information for any reason other

than as intended within the scope of Employee’s employment or as approved by an executive

officer of the Company in writing. Upon separation of employment for any reason, or at any other




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time upon the request of the company, Employee shall immediately deliver to Employer all

documents, materials, and data (and copies thereof), in tangible, electronic, or intangible form,

relating to the business of the Company.”

       16.     AssuredPartners’ employees who sell insurance products play a fundamental role

in AssuredPartners’ business. These employees function as the primary contact point with

AssuredPartners for its customers and prospective customers. These employees solicit business

for the Company, provide quotes and proposals to prospective customers, and, once policies are in

place, provide day-to-day support as required by customers. In addition, these employees are also

responsible for establishing and maintaining customer relationships to foster policy renewal as

they expire. In essence, AssuredPartners’ employees who sell insurance products are the “face”

of AssuredPartners to its current and future customers.

       17.     AssuredPartners provides its employees who sell insurance products with

substantial resources, including access to AssuredPartners’ confidential business and customer

information, and in turn, these employees promote AssuredPartners’ business and generate good

will for AssuredPartners’ by developing long-term, personal relationships with AssuredPartners’

customers.

Epic Insurance Solutions Agency LLC (“Epic”)

       18.     Epic, which is headquartered in Louisville, Kentucky is an independent insurance

company and works with carriers in employee benefits, property, casualty, life, medical, and dental




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insurance, among other similar products to sell insurance products and services to customers. Epic

is a direct competitor of AssuredPartners.

       19.     Epic first opened in Louisville in April 2013. In January 2016, Epic opened its first

office in Indiana, in Indianapolis. Epic has recently opened a new Evansville, Indiana office, with

the assistance of Davis and Epic employee Rick Mitchum (“Mitchum”).

Dan Davis

       20.     Defendant Dan Davis began his employment with AssuredPartners on or about

January 1, 2013 as a Senior Vice President / Employee Benefits for AssuredPartners’ Newburgh,

Indiana office. Davis is licensed by the Indiana Department of Insurance as a “Resident Producer

Individual” to sell Health, Life, Accident, Property and Casualty insurance.            During his

employment with AssuredPartners, Davis’s sales territory included the Evansville and Newburgh,

Indiana and Owensboro and Louisville, Kentucky areas.

       21.     On or about January 1, 2013, Davis executed the Employment and Restrictive

Covenants Agreement (“Agreement”) with Assured NL Insurance Agency, Inc. Attached as

Exhibit A to the Complaint is a true and correct copy of the Agreement.

       22.     Davis’s Agreement includes provisions relating to non-disclosure of confidential

information, restrictions on solicitation of business on behalf of other insurance companies during

the term of the Agreement, and restrictions on solicitation of or conducting of business with

AssuredPartners’ customers for a period of two (2) years following the termination of the

Agreement.

       23.     The Agreement states that “[t]he parties acknowledge that the restrictive covenants

in this Agreement constitute a significant element of value of the business and assets of the

Company and that, without such restrictive covenants, Company would either not hire Employee




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or would compensate Employee at least 25% lower. These restrictive covenants are reasonably

necessary to protect the Company’s legitimate business interests, including but not limited to, its

trade secrets, confidential business information, customer relationships, and customer goodwill.”

(Exhibit A at p. 1.)

       24.     With regard to non-disclosure of AssuredPartners’ confidential information, the

Agreement states in relevant part as follows:

       3.1.    For purposes of this Agreement, the term “Confidential Information”
               means all confidential, proprietary and/or non-public information,
               whether or not in written or recorded form, concerning the business or
               affairs of the Company, including but not limited to, information
               concerning:

               3.11.   the Company’s clients, prospective clients, acquisition targets,
                       vendors, insurance carriers, policy forms, rating information,
                       expiration dates, and/or contracts or arrangements (including
                       special terms and deals);

               3.1.2. the Company’s financial condition, results of operations,
                      marketing plans, business plans, operations, pricing,
                      promotions, and business strategies and methods; and

               3.1.3. the services and products offered by the Company to its clients
                      or prospective clients, including, but not limited to, policy
                      forms, rating information, expiration dates, information on risk
                      characteristics, and information concerning insurance markets
                      for large or unusual risks.

       3.2.    Employee acknowledges and agrees that all Confidential Information is
       the sole and exclusive property of the Company. Accordingly, both during and
       after employment with the Company (whether such separation from
       employment is voluntary or involuntary, or with or without cause), Employee
       shall not use, or disclose to any third party, any Confidential Information for
       any reason other than as intended within the scope of employee’s employment
       or as approved by an executive officer of the Company in writing. Upon
       separation of employment for any reason, or at any other time upon request of
       the Company, Employee shall immediately deliver to Employer all documents,
       materials and data (and copies thereof), in tangible, electronic, or intangible
       form, relating to the business of the Company.

(See Exhibit A ¶¶ 3.1 and 3.2.)



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       25.     With regard to the restrictive covenants relating to AssuredPartners’ customers, the

Agreement states in relevant part as follows:

       4.1.    Except on behalf of the Company, during Employee’s employment with
               the Company and for twenty-four (24) months after Employee’s
               employment ends with the Company (whether voluntary or involuntary
               or with or without cause), Employee shall not directly or indirectly
               through another person or entity:

               4.1.1. offer, sell, solicit, quote, place, provide, renew or service any
                      insurance product or service to, or on behalf of, any Restricted
                      Client;

               4.1.2. take any action intended, or reasonably likely, to cause any
                      vendor, insurance carrier, wholesale broker, Restricted Client,
                      other client of the Company, or any other third party with a
                      material business relationship with the Company to cease or
                      refrain from doing business with the Company; or

               4.1.3. solicit, hire, engage or seek to induce any of the Company’s
                      employees to terminate such employee’s employment with the
                      Company for any reason, including, without limitation, to work
                      for Employee or a competitor of the Company.

       4.2.    Restricted Clients. For purposes of this Agreement, “Restricted Client”
               means the following:

               4.2.1. any client of the Company at the office where Employee was
               employed during the two (2) years immediately preceding the date on
               which Employees employment with the Company ended for any reason,
               whether voluntary or involuntary or with or without cause (the
               “Separation Date”);

               4.2.2. any client of the Company during the two (2) years immediately
               preceding the Separation Date as to which the Employee either had
               some involvement in proposing, selling, quoting, placing, providing,
               servicing or renewing any insurance product or service or about whom
               the Employee received Confidential Information; or

               4.2.3 any prospective client of the Company within two (2) years
               immediately preceding the Separation Date as to which Employee had
               involvement in proposing, selling, quoting, placing, providing,
               servicing, or renewing any insurance product or service or about whom
               Employee received Confidential Information.




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(See Exhibit A ¶¶ 4.2.; 4.2.1-4.2.3.)

       26.     With regard to remedies available to AssuredPartners for any breach of the above-

referenced covenants, the Agreement states in relevant part as follows:


       4.3.    Enforcement. In the event of the breach or a threatened breach by
       Employee of any of the obligations of Section 4.1 above, the Company, in
       addition to other rights and remedies existing in its favor, shall be entitled to
       injunctive relief and may apply to any court for specific performance,
       temporary, preliminary, and/or permanent injunctive relief, or other relief in
       order to enforce the obligations or prevent any violations of the obligations. In
       addition, in the event of an alleged breach or violation by Employee of the
       obligations in Section 4.1, the Restricted Period shall be tolled until such breach
       or violation has been cured.

(See Exhibits A ¶ 4.3.) (Emphasis in original.)

       27.     The Agreement also states:

       10.     Reasonableness; Modification. Employee agrees that: (a) the obligations and
               restrictions in Section 4 of this Agreement are reasonable in time in [sic] and client
               limitation; (b) the number of Restricted Clients is extremely small in comparison
               to the total number of potential or prospective clients; and (c) the obligations and
               restrictions of Section 4 do not significantly affect Employee’s ability to engage in
               a lawful profession or business to compete fairly with the Company.
               Notwithstanding the foregoing, if, at the time of enforcement any of the obligations
               in Section 4, a court shall hold that the duration or scope of Employee’s obligations
               under Section 4 are unreasonable or enforceable, the parties agree that the
               maximum duration, scope and list of Restricted Clients, as determined by the court,
               shall be substituted and that the court shall enforce the obligations as modified.

       (Exhibit A ¶ 10.) (Emphasis in original.)

       28.     The Agreement further provides that, “[i]f the Company engages one or more

attorneys to enforce any of the terms of this Agreement or otherwise protect the Company against

any breach or threatened breach of this Agreement, whether or not a lawsuit or claim is filed,

Employee shall be responsible for all of the Company’s actual attorney’s fees, costs and expenses,

and all other reasonable costs and expenses, in addition to any other legal or equitable relief to

which the Company may be entitled.” (See Exhibit A ¶ 18).)


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  DAVIS’S BREACH OF CONFIDENTIALITY OBLIGATIONS, MISAPPROPRIATION

                   OF TRADE SECRETS, AND DEALINGS WITH EPIC

         29.   Davis and Epic and its agents acting in concert with one another, including but not

 limited to current Epic employee Mitchum are conspiring to take away AssuredPartners’ business.

 Davis and Mitchum are long-time friends.

         30.   After the October 2013 combination of AssuredPartners’ Newburgh and Evansville

 offices, Davis primarily worked for AssuredPartners from his home in Newburgh, Indiana.

         31.   Between 2016 and 2018, Davis earned a large sum in commissions from sales of

 insurance products.

         32.   Over the course of his employment with AssuredPartners, and by virtue of his

 position within the Company, Davis had access to AssuredPartners’ confidential and proprietary

 business information, including, but not limited to, the identity of customers and prospective

 customers, including their contact information and insurance needs; vendors; insurance carriers;

 policy terms of existing customers; expiration/renewal dates; the Company’s financial condition

 including its marketing plans, pricing and business strategies and methods; the services and

 products AssuredPartners offers, including insurance rating information; and pricing information

 for AssuredPartners’ insurance offerings and other products.

         33.   On February 21, 2018 at 4:03 a.m., Davis sent himself an email attaching the

 April 1, 2018 “Renewal Cost Summary” for a customer for which Davis served as Primary Sales

 Lead.   The Renewal Cost Summary included the specific plans, contract terms (including

 premiums and deductibles), and the annual plan exposures for each of the various employee

 benefits plans AssuredPartners offered to that particular customer. The Renewal Cost Summary

 also included the employee benefits plan offering that the customer ultimately chose in 2017, and




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 the specific plans, contract terms (including premiums and deductibles), and the annual plan

 exposures for that offering. After Davis’s resignation on April 17, 2018, AssuredPartners was

 informed that this customer was moving its business to Epic.

        34.     On Saturday, April 7, 2018 at 12:55 p.m., Davis sent himself an email which

 attached 19 files relating to an AssuredPartners customer for which Davis served as Primary Sales

 Lead. The attachments included, among others, confidential, proprietary, trade secret information

 belonging to AssuredPartners including insurance quotes, the Renewal Cost Summary, and the

 renewal presentation (and underlying documentation Davis had used to prepare it) for that

 customer in 2017. This particular customer’s renewal date is in July each year. On June 10, 2018,

 this customer informed AssuredPartners that it would be moving its business to Epic and that the

 new broker was Mitchum.

        35.     On Saturday, April 7, 2018, at 1:05 p.m., Davis sent himself an email which

 attached 19 files relating to an AssuredPartners’ customer for which Davis served as Primary Sales

 Lead. This particular customer’s renewal date is in July each year. The attachments included,

 among others, confidential, proprietary, trade secret information belonging to AssuredPartners,

 including the Renewal Cost Summary, and the renewal presentation (and underlying

 documentation Davis had used to prepare it) for that customer in 2017.

        36.     On Saturday, April 7, 2018 at 1:12 p.m., Davis sent himself an email which attached

 23 files relating to an AssuredPartners’ customer for which Davis served as Primary Sales Lead.

 The attachments included, among others confidential, proprietary, trade secret information

 belonging to AssuredPartners, including the Renewal Cost Summary, and the renewal presentation

 (and underlying documentation Davis had used to prepare it) for that customer in 2017. On April




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 20, 2018, AssuredPartners received notice that this customer moved its business to Epic and that

 the new broker was Mitchum.

        37.     Some of the aforementioned email attachments that Davis sent to himself included

 Protected Health Information (“PHI”) as the term is defined by HIPAA.

        38.     On April 16, 2018, Davis sent Executive Vice President, Employee Benefits, Matt

 Fuqua a letter serving as “formal notification that I am resigning my position with AssuredPartners

 on May 1, 2018.”

        39.     On April 17, 2018, AssuredPartners accepted Davis’s resignation of his

 employment effective immediately. On that same date, AssuredPartners sent Davis a letter

 advising that his employment ended April 17, 2018. In that letter, AssuredPartners specifically

 “advised that you are expected to adhere to the AssuredPartners Employment and Restrictive

 Covenants Agreement” and that “[i]f you have any company property including but not limited to

 files, customer lists, supplies, computers, docking stations, power cords or telephone equipment,

 be sure to return these items promptly.” Attached as Exhibit B is a true and correct copy of the

 April 17, 2018 letter. Davis has not returned any company property to AssuredPartners.

        40.     As of April 17, 2018, Davis was the primary sales lead for 24 accounts, totaling

 more than $8.3 million in estimated annualized premiums, and almost $800,000 in estimated

 annualized revenue.

        41.     On April 20, 2018, based upon the suspicious loss of business to Epic of which

 AssuredPartners learned on April 20, 2018, AssuredPartners sent Davis a letter regarding Davis’s

 violations of the Agreement and demanding that Davis cease and desist from any further violations

 of the Agreement. Attached as Exhibit C is a true and correct copy of the letter.




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        42.    After AssuredPartners sent the April 20, 2018 letter to Davis, on or about June 20,

 2018, AssuredPartners learned that another customer was moving its business to Epic, and that its

 new insurance broker was Mitchum.

        43.    Epic hired Davis in April 2018 in substantially the same capacity in which he

 worked for AssuredPartners, and to spearhead Epic’s new Evansville, Indiana office. Davis is

 presently employed by Epic, as is Mitchum.

        44.    Mitchum is utilizing the AssuredPartners’ confidential, proprietary and trade secret

 information Davis retained after his resignation in violation of the Agreement, to solicit

 AssuredPartners’ customers.     In so doing, Davis is indirectly soliciting AssuredPartners’

 customers in violation of the Agreement.

        45.    Davis has, directly and indirectly (including but not limited to, through Mitchum),

 on behalf of Epic, taken and continues to take customers and business from AssuredPartners to

 Epic based on confidential information Davis acquired that belonged to AssuredPartners.

        46.    Defendants have wrongfully and unlawfully used AssuredPartners’ confidential

 information to undermine and interfere with AssuredPartners’ provision of insurance products and

 services and to lure AssuredPartners’ customers to Epic.

        47.    Davis, including but not limited to through Mitchum, has in direct violation of the

 Davis’s Agreement with AssuredPartners, solicited AssuredPartners’ customers on behalf of Epic

 using AssuredPartners’ confidential information.

        48.    Defendants have misused and misappropriated AssuredPartners’ confidential

 information by soliciting AssuredPartners’ customers with the intention of inducing them to do

 business with Epic, a competitor of AssuredPartners.




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         49.     If Defendants succeed in continuing to divert AssuredPartners’ customers,

 AssuredPartners’ years of work to develop its confidential information and customer relationships

 will be forever damaged.

         50.     Defendants’ wrongful conduct has compromised AssuredPartners’ business,

 including its relationships with its customers, and has resulted in lost revenues and other damages.

         51.     As a result of Defendants’ misconduct, AssuredPartners has already lost three

 customers to Epic, representing significant lost premiums to AssuredPartners, and will likely

 continue to lose additional customers and significant premiums.

                                   FIRST CAUSE OF ACTION

                  Violation of the Defend Trade Secrets Act 18 U.S.C. 1832 et seq.

         52.     AssuredPartners re-alleges and incorporates paragraphs 1 through 51 by reference as

 if fully set forth herein.

         53.     AssuredPartners’ information regarding the identity of clients and prospective

 customers, including their contact information and insurance needs; vendors; insurance carriers;

 policy terms of existing customers; expiration/renewal dates; AssuredPartners’ financial condition

 including its marketing plans, pricing and business strategies and methods; and the services and

 products AssuredPartners offers, including insurance rating information; and pricing information for

 AssuredPartners’ insurance offerings and other products, constitute trade secrets as defined by the

 Defend Trade Secrets Act, 18 U.S.C. § 1832 et seq. (“DTSA”). This information has independent

 economic value because it is not generally known to and not readily ascertainable by proper means

 by other persons who can obtain economic value from its disclosure or use.

         54.     The value of AssuredPartners’ trade secrets is demonstrated, in part, by Davis’s

 misappropriation of those trade secrets prior to his resignation from AssuredPartners.




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        55.     AssuredPartners’       confidential    information   is    not   generally   available   to

 AssuredPartners’ competitors. It derives independent economic value from not being generally

 known to other persons who could otherwise obtain economic value from its disclosure or use, and

 it is the subject of efforts that are reasonable under the circumstances to maintain its confidentiality.

        56.     AssuredPartners’ confidential information provides critical commercial and

 competitive advantages to AssuredPartners.

        57.     AssuredPartners has taken reasonable and adequate precautions to protect its

 confidential information, including, but not limited to, limiting access to the information to a select

 group of individuals on a need-to-know basis in order to perform their employment and agent duties,

 and requiring certain individuals to sign confidentiality agreements.

        58.     AssuredPartners’ trade secrets are related to its products and services used in, or

 intended to be used in, interstate or foreign commerce.

        59.     Davis had access to AssuredPartners’ trade secrets, which were provided exclusively

 for the purpose of furthering AssuredPartners’ business.

        60.     Defendants are aware of the confidential and proprietary nature of AssuredPartners’

 confidential information, and of their duty not to use such information for their own benefit, or for

 the benefit of any person or entity other than AssuredPartners.

        61.     Davis    and    Epic    willfully,    wrongfully,    and   maliciously   misappropriated

 AssuredPartners’ confidential information by using their knowledge of AssuredPartners’ trade secret

 information relating to its customers to AssuredPartners’ detriment.

        62.     Davis and Epic have engaged in actual and threatened misappropriation of

 AssuredPartners’ trade secrets.




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         63.     AssuredPartners has suffered and will continue to suffer irreparable harm, including,

 but not limited to, a loss of its competitive advantage, loss of business, loss of goodwill, and other

 damage unless Davis and Epic and those acting in concert, including but not limited to Mitchum,

 with them are enjoined from continuing to benefit from any unlawful misappropriation of

 AssuredPartners’ trade secrets and confidential information.

         64.     Unless restrained, Davis, Epic and those acting in concert with them, including but

 not limited to Mitchum, will continue to misappropriate AssuredPartners’ trade secrets in violation

 of the Act.

         65.     As a direct and proximate consequence of the conduct of Davis and Epic and those

 acting in concert with them, including but not limited to Mitchum, AssuredPartners has been

 damaged in an amount to be proven at trial.

         66.     The conduct of Davis and Epic, and those acting in concert with them, including but

 not limited to Mitchum, was willful, malicious, and done in conscious disregard of AssuredPartners’

 rights, entitling AssuredPartners to exemplary damages and attorney’s fees and costs in an amount

 to be proven at trial.

         67.     Pursuant to the Act, AssuredPartners is entitled to preliminary and permanent

 injunctive relief, enjoining and restraining Davis and Epic and those acting in concert with them,

 including but not limited to Mitchum, from all acts of actual and threatened misappropriation of the

 trade secrets of AssuredPartners; and an award of compensatory damages for actual losses caused

 by Defendants’ misappropriation of trade secrets, attorneys’ fees, an award of damages for unjust

 enrichment caused by Defendants’ misappropriation of trade secrets, and an award of exemplary

 damages under 18 U.S.C. § 1836(b)(3).




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                                      SECOND CAUSE OF ACTION

              Violation of the Indiana Uniform Trade Secrets Act by Davis and Epic

        68.        AssuredPartners re-alleges and incorporates paragraphs 1 through 67 of this

 Complaint by reference as if fully set forth herein.

        69.        AssuredPartners is the rightful owner of its confidential information, including, but

 not limited to the identity of customers and prospective customers, including their contact

 information and insurance needs; vendors; insurance carriers; policy terms of existing customers;

 expiration/renewal dates; AssuredPartners’ financial condition including its marketing plans, pricing

 and business strategies and methods; and the services and products AssuredPartners offers, including

 insurance rating information; and pricing information for AssuredPartners’ insurance offerings and

 other products.

        70.        Davis had access to AssuredPartners’ confidential information.

        71.        AssuredPartners’    confidential    information   is   not   generally   available   to

 AssuredPartners’ competitors. It derives independent economic value from not being generally

 known to other persons who could otherwise obtain economic value from its disclosure or use, and

 it is the subject of efforts that are reasonable under the circumstances to maintain its confidentiality.

        72.        AssuredPartners’ confidential information provides critical commercial and

 competitive advantages to AssuredPartners.

        73.        AssuredPartners has taken reasonable and adequate precautions to protect its

 confidential information, including, but not limited to, limiting access to the information to a select

 group of individuals on a need-to-know basis in order to perform their employment and agent duties,

 and requiring certain individuals to sign confidentiality agreements.

        74.        Defendants are prohibited from misappropriating AssuredPartners’ trade secrets by

 the Indiana’s Uniform Trade Secret Act, codified beginning at Indiana Code § 24-2-3-1.


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         75.     Defendants are aware of the confidential and proprietary nature of AssuredPartners’

 confidential information, and of their duty not to use such information for their own benefit, or for

 the benefit of any person or entity other than AssuredPartners.

         76.     Davis    and   Epic   willfully,   wrongfully,    and   maliciously   misappropriated

 AssuredPartners’ confidential information by using their knowledge of AssuredPartners’ trade secret

 information relating to its customers to AssuredPartners’ detriment.

         77.     Davis and Epic have engaged in actual and threatened misappropriation of

 AssuredPartners’ trade secrets

         78.     AssuredPartners has suffered and will continue to suffer irreparable harm, including,

 but not limited to, a loss of its competitive advantage, loss of business, loss of goodwill, and other

 damage unless Davis and Epic and those acting in concert, including but not limited to Mitchum,

 with them are enjoined from continuing to benefit from any unlawful misappropriation of

 AssuredPartners’ trade secrets and confidential information.

         79.     Unless restrained, Davis, Epic and those acting in concert with them, including but

 not limited to Mitchum, will continue to misappropriate AssuredPartners’ trade secrets in violation

 of the Act.

         80.     As a direct and proximate consequence of the conduct of Davis and Epic and those

 acting in concert with them, including but not limited to Mitchum, AssuredPartners has been

 damaged in an amount to be proven at trial.

         81.     The conduct of Davis and Epic, and those acting in concert with them, including but

 not limited to Mitchum, was willful, malicious, and done in conscious disregard of AssuredPartners’

 rights, entitling AssuredPartners to exemplary damages and attorney’s fees and costs in an amount

 to be proven at trial.




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         82.     Pursuant to the Act, AssuredPartners is entitled to preliminary and permanent

 injunctive relief, enjoining and restraining Davis and Epic and those acting in concert with them,

 including but not limited to Mitchum, from all acts of actual and threatened misappropriation of the

 trade secrets of AssuredPartners; and an award of damages against Davis and Epic to compensate

 AssuredPartners for all losses proximately caused by such acts of actual and threatened

 misappropriation.

                                   THIRD CAUSE OF ACTION

                                 Breach of Contract against Davis

         83.     AssuredPartners re-alleges and incorporates paragraphs 1 through 82 by reference as

 if fully set forth herein.

         84.     AssuredPartners entered into an agreement with Davis which required ongoing

 mutual duties of the parties.

         85.     The agreement with Davis is valid and enforceable.

         86.     AssuredPartners performed all of its obligations under its agreement with Davis.

         87.     Davis materially breached his Agreement by knowingly and willfully making

 personal use of AssuredPartners’ confidential information for the benefit of himself and

 AssuredPartners’ competitor Epic, and to AssuredPartners’ detriment.

         88.     Epic aided and abetted Davis’s material breached of his Agreement by knowingly

 and willfully (including but not limited to, through Davis providing AssuredPartners’ confidential

 information to Mitchum and Mitchum’s use of that information on behalf of Epic) using




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 AssuredPartners’ confidential information to wrongfully acquire business from AssuredPartners’

 current and prospective customers on behalf of Epic.

         89.     As a direct and proximate consequence of Davis’s and Epic’s conduct,

 AssuredPartners has been damaged. AssuredPartners alleges its lost profits as special damages.

         90.     As described above, Davis has breached, and will continue to breach, his obligations

 to AssuredPartners, and AssuredPartners has suffered, and will continue to suffer, irreparable harm

 and other damage as a result of their actions in the absence of injunctive relief.

                                   FOURTH CAUSE OF ACTION

                           Tortious Interference with Contract Against Epic

         91.     AssuredPartners re-alleges and incorporates paragraphs 1 through 90 by reference

 as if fully set forth herein.

         92.     AssuredPartners possesses advantageous business relationships and expectancies

 with its current and prospective customers with whom AssuredPartners has an expectation of

 continued service.

         93.     AssuredPartners possesses valuable contractual commitments from its employees,

 including restrictive covenants and confidentiality agreements.

         94.     Epic had knowledge of AssuredPartners’ contracts or relationships with its

 customers and of AssuredPartners’ expectancy that these customers would continue to utilize its

 products and services, including purchasing future insurance policies.

         95.     Epic, individually or in concert with others (including but not limited to Mitchum),

 had knowledge of AssuredPartners’ contracts with its current and former customers, including

 those which have since moved their business to Epic.

         96.     Many of AssuredPartners’ customers have been customers for many years.




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           97.    AssuredPartners reasonably expects that its customers will remain customers in the

 future.

           98.    Having knowledge of these continuing contractual obligations and expectancies,

 Epic, individually or in concert with others (including but not limited to Mitchum), have interfered

 with AssuredPartners’ contracts and its business expectancies by wrongfully utilizing or disclosing

 AssuredPartners’ confidential and proprietary information for the benefit of Epic, and by soliciting

 AssuredPartners’ customers, and by engaging in other steps, some of which may be unlawful, to

 move AssuredPartners’ business to Epic, and usurping commercial opportunities from

 AssuredPartners.

           99.    Davis and Epic and those acting in concert with them (including but not limited to

 Mitchum), without privilege or justification, tortiously induced, and continue to tortiously induce,

 AssuredPartners’ customers to terminate their relationships with AssuredPartners, with the

 deliberate intention of causing damage to AssuredPartners.

           100.   The acts of interference of Epic and those acting in concert with it (including but

 not limited to Mitchum) are and have been intentional, and are improper and without justification.

           101.   As a direct and proximate consequence of the tortious interference of Epic and those

 acting in concert with it (including but not limited to Mitchum) with AssuredPartners’ contracts

 and business relations, AssuredPartners has been and will continue to be irreparably damaged

 through the immeasurable loss of business, customer relations, profits and goodwill for which

 there is no adequate remedy at law.

           102.   AssuredPartners is entitled to preliminary and permanent injunctive relief against

 Epic and those acting in concert with it (including but not limited to Mitchum) enjoining and

 restraining them from further interfering with AssuredPartners’ contractual and business relations.




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         103.    AssuredPartners is further entitled to an award of damages against Epic to

 compensate AssuredPartners for all loss proximately caused by Defendants’ conduct.

         104.    As a direct and proximate consequence of Epic’s intentional and tortious conduct,

 AssuredPartners has been damaged in an amount to be proven at trial.

         105.    AssuredPartners alleges its lost profits as special damages resulting from Epic’s

 tortious interference.

         106.    Epic’s tortious conduct was willful, malicious, and done in conscious disregard of

 AssuredPartners’ rights, entitling AssuredPartners to punitive damages and attorney’s fees and

 costs in an amount to be proven at trial.

                                     FIFTH CAUSE OF ACTION

                          Breach of Fiduciary Duty and Duty of Loyalty against
                                                 Davis

         107.    AssuredPartners re-alleges and incorporates paragraphs 1 through 106 by reference

 as if fully set forth herein.

         108.    As an employee of AssuredPartners, Davis owed AssuredPartners a fiduciary duty

 and duties of loyalty.

         109.    Davis has violated the common law fiduciary duty of loyalty and the fiduciary duty

 arising under his employment relationship and Agreement with AssuredPartners in that, while

 employed with AssuredPartners, the Davis secretly schemed with others, including but not limited

 to Mitchum, to deprive AssuredPartners of its customers, records, and trade secrets.

         110.    Defendant Davis has specifically breached his fiduciary duty and duty of loyalty to

 AssuredPartners by using AssuredPartners’ confidential and proprietary information and

 AssuredPartners’ property for the benefit of AssuredPartners’ competitor Epic and to

 AssuredPartners’ detriment.



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        111.      As a result of these breaches, AssuredPartners has suffered and will continue to

 suffer irreparable harm and loss and damages through the loss of customers, revenue, confidential

 and proprietary information, and/or goodwill.

        112.      AssuredPartners alleges its lost profits as special damages resulting from Davis’s

 breach of his fiduciary duty and duties of loyalty to AssuredPartners.

                                   SIXTH CAUSE OF ACTION

                              Civil Conspiracy against all Defendants

        113.      The allegations of Paragraphs 1 through 112 are incorporated herein by reference

 with the same force and effect as if set forth in full below.

        114.      Each Defendant combined with one or more of the other Defendants, by concerted

 action, to accomplish the unlawful purposes alleged herein and/or to accomplish purposes not in

 themselves unlawful by the unlawful means alleged herein.

        115.      Epic and Davis conspired with each other to misappropriate AssuredPartners’ trade

 secrets, breach Davis’s Agreement with AssuredPartners, breach Davis’s fiduciary duty to

 AssuredPartners, and tortiously interfere with AssuredPartners’ contractual relations and business

 expectancy.

        116.      Each Defendant, as a participant in the conspiracy, is responsible as a joint

 tortfeasor for any and all damages caused by the wrongful acts regardless of the degree of active

 participation.

        117.      As a consequence of the foregoing, AssuredPartners has suffered and will continue

 to suffer irreparable harm and loss and damages, including, but not limited to, lost profits.




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                                 SEVENTH CAUSE OF ACTION

                               Unjust Enrichment by All Defendants

        118.    The allegations of Paragraphs 1 through 117 are incorporated herein by reference

 with the same force and effect as if set forth in full below.

        119.    Through the actions alleged herein, the Defendants have been unjustly enriched and

 benefited.

        120.    Benefits, including profits, revenues, and income, received by the Defendants

 through the actions alleged herein were obtained improperly, unlawfully, and unjustly.

        121.    The Individual Defendants have received commissions and other income through

 the improper and unlawful conduct alleged herein and have been unjustly enriched by it to the

 detriment and harm of AssuredPartners.

        122.    Epic has received revenue, profits, and income through the improper and unlawful

 conduct alleged herein and have been unjustly enriched to the detriment and harm of

 AssuredPartners.

        123.    As a matter of equity, all Defendants should be required to disgorge any and all

 revenues, profits, commissions, and income resulting from the improper and unlawful conduct

 alleged herein and to reimburse AssuredPartners in an amount equal to Defendants’ unjust

 enrichment.

                                    JURY TRIAL REQUESTED

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby requests a jury trial on

 all issues and claims triable by right by jury.

                                      PRAYER FOR RELIEF

        WHEREFORE, AssuredPartners respectfully requests that this Court:




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        A.      Preliminarily and permanently enjoin, restrain and prohibit, directly or indirectly,

 Defendants, whether alone or in concert with others, including any officer, agent, employee, and/or

 representative of Epic, including but not limited to Mitchum, or their related entities and

 businesses, until further Order of this Court, as follows:

                1.     Davis, and those working in concert with him, including but not limited to
        Epic and Mitchum, should be immediately enjoined from continuing to solicit, contact,
        and/or do business with all persons or entities, for the 24-month period immediately
        preceding the end of Davis’s employment (a) which were clients or prospective clients of
        AssuredPartners with whom Davis had involvement in proposing, selling quoting, placing,
        providing, servicing, or renewing any insurance product or service; and/or (b) about whom
        Davis received confidential, proprietary, and/or non-public information; and/or (c) were
        clients of AssuredPartners’ office where Davis was employed (collectively, “Restricted
        Clients”).

               2.      Davis, and those working in concert with him, including but not limited to
        Epic and Mitchum, should be immediately enjoined from continuing to solicit, contact,
        and/or do business with any vendor, insurance carrier, wholesale broker or any third party
        with a material business relationship with AssuredPartners (collectively “Material
        Business Relationships”).

               3.      Davis and Epic, and those working in concert with them, including but not
        limited to Mitchum, should be immediately enjoined from tortiously interfering with
        AssuredPartners’ contracts with its Restricted Clients or with its Material Business
        Relationships.

                4.      Davis and Epic, and those working in concert with them, including but not
        limited to Mitchum, should be immediately enjoined from further use or disclosure of PHI
        as that term is defined by HIPAA, that Davis received by virtue of his employment with
        AssuredPartners.

                5.      Davis and Epic, and those working in concert with them, including but not
        limited to Mitchum, should be immediately enjoined from soliciting AssuredPartners’
        Restricted Clients or Material Business Relationships based on confidential information
        possessed by Davis or Mitchum belonging to AssuredPartners, or otherwise disclosing,
        using, and appropriating any of AssuredPartners’ confidential information for their own
        use or for the use of others, directly or indirectly;

               6.     All Defendants should be immediately enjoined not to destroy, erase, or
        otherwise make unavailable for further proceedings in this matter, any records or
        documents (including data or information maintained in computer media, including
        Defendants’ personal computers and media and electronic email and other accounts) in
        Defendants’ possession, custody, or control that were obtained from or contain information



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           derived from any AssuredPartners’ records, including that pertaining to AssuredPartners
           clients, employees, or agents, or that refer or relate to any of the events alleged in this
           Complaint;

           B.     Enter an order that the above-requested injunctions be binding upon Defendants,

 their respective affiliates, successors and assigns, and their respective agents, servants, employees,

 representatives, attorneys and persons in active concert or participation with them;

           C.     Award AssuredPartners such damages as may be proven at trial, including without

 limitation, compensatory, punitive, exemplary, and/or statutory damages, plus attorney’s fees,

 interest and costs;

           D.     Enter an order imposing a constructive trust overall revenues received by

 Defendants as a result of Defendants’ unlawful conduct, including, but not limited to, breach of

 contract, breach of fiduciary duties, tortious interference with contracts, business relationships or

 expectancies, misappropriation of trade secrets, civil conspiracy, fraud, and deception;

           E.     Direct that an accounting be conducted of all work, proceeds, revenue,

 commissions, and profits of Defendants concerning any proceeds, revenue and profits of business

 obtained as a result of Defendants’ unlawful conduct, and award all such proceeds and profits to

 AssuredPartners;

           F.     Award AssuredPartners its attorney’s fees and costs incurred in prosecuting this

 action, including but not limited to pursuant to 18 U.S.C. § 1836(b); and

           G.     Award AssuredPartners such other and further relief as this Court deems just and

 proper.




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                                Respectfully submitted,

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